               Case 1:21-cv-11794-ADB Document 27 Filed 02/25/22 Page 1 of 1


                                UNITED STATES DISTRICT COURT
                                                          for the
                                                    District of Massachusetts

                                                    Eastern Division


     MICHAEL BUSH; LINDA TAYLOR; LISA                                 Case No.       1:21-cv-11794-ADB
  TIERNAN; KATE HENDERSON; ROBERT EGRI;
                                                            )
     KATALIN EGRI; ANITA OPTIZ; MONICA
                                                            )
     GRANFIELD, ANN LINSEY HURLEY; IAN
                                                            )
    SAMPSON; SUSAN PROVENZANO; JOSEPH
                                                            )
               PROVENZANO,
                                                            )
                Pro Se Plaintiffs
                                                            )
                                                            )
                          VS.
                                                            )
                                                            )
 LINDA FANTASIA; MARTHA FEENEY-PATTEN;
                                                            )
      ANTHONY MARIANO; CATHERINE
                                                            )
 GALLIGAN; JEAN JASAITIS BARRY; PATRICK
                                                            )
    COLLINS; DAVID ERICKSON; TIMOTHY
                                                            )
  GODDARD; TOWN OF CARLISLE; JOHN DOE;
                                                            )
                JANE DOE
                                                            )
                Defendants




                            REQUEST FOR RULING OR HEARING
        On Februar 2, 2022 the Defendants Repl Brief in support of their Motion to Dismiss was filed with this

Court. That Motion remains pending. As the Motion itself is defective, I request the Court summarily deny the

Defendants Motion. Alternativel , I request the Court schedule a hearing on the Motion so that discovery may

commence promptly.

                                Date: February 25, 2022             Respectfully submitted,



                                                                                              , Pro Se
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Page 1 of 1
